




NO. 07-01-0035-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JUNE 15, 2001

______________________________



MICHAEL CAMERO,



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 208
TH
 
DISTRICT COURT OF HARRIS COUNTY;



NO. 836,598; HON. DENISE COLLINS, PRESIDING

_______________________________



Before QUINN, REAVIS and 
JOHNSON
(footnote: 1), JJ.

Michael Camero (appellant) appeals his conviction for aggravated robbery. &nbsp;Appellant plead nolo contendere to the allegations in the indictment. &nbsp;He was sentenced to serve forty years in prison. &nbsp;Appellant timely noticed his appeal. &nbsp;His retained appellate counsel moved to withdraw after filing a brief pursuant to 
Anders v. California
, 386 U.S. 738, 87 S. Ct. 1396, 18 L.Ed.2d 493 (1967), representing that he had searched the record and found no arguable grounds for reversal. &nbsp;The motion and brief illustrated that appellant was informed of his rights to review the appellate record and file his own brief. &nbsp;So too did we inform appellant that any brief he cared to file had to be filed by June 13, 2001. &nbsp;To date, appellant has filed no brief. 

After conducting an independent review of the record, we find no reversible error. &nbsp;Though transcription of the plea hearing was waived, appellant represented to the court via the plea admonishment papers he signed that he was 1) properly indicted, 2) represented by legal counsel, and 3) mentally competent when he entered his plea. &nbsp;So too does the clerk’s record contain evidence 1) substantiating the allegations in the indictment, 2) indicating that his plea of nolo contendere was knowing and voluntary, and 3) indicating that his plea was made without the benefit of an agreement as to punishment. &nbsp;Finally, the punishment levied was within the range provided by statute.

Accordingly, counsel’s motion to withdraw is granted and the judgment of the trial court is affirmed. &nbsp;

 



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;					Brian Quinn 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;				 &nbsp;&nbsp;Justice 



 

Do not publish. 

FOOTNOTES
1:Justice Johnson did not participate in the resolution of this proceeding.




